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                       UNITED STATES DISTRICT COURT
14         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15 MACOM                  TECHNOLOGY Case No. CV 16-02859 CAS (PLAx)
16 SOLUTIONS HOLDINGS INC. and DEFENDANTS’ OPPOSITION TO
   NITRONEX, LLC,                          MACOM’S MOTION FOR LEAVE
17                                         TO AMEND COMPLAINT
                     Plaintiffs,           Hearing Date: June 18, 20181
18
           v.                              Hearing Time: 10:00 a.m.
19                                         Courtroom: D, 8th Floor
20
21
     1
22     Plaintiffs filed a first motion set for hearing on June 11 and a second motion set for
     hearing on June 18, both of which were improperly noticed. As explained in
23   Defendants’ opposition to the first improperly noticed motion, Plaintiffs’ motion
     should have been set for hearing no earlier than June 25, 2018. Dkt. 508; see also
24   Aguilar v. Ocwen Fin. Corp., No. 14-CV-07675-MWF, 2015 WL 1345279, at *2
     (C.D. Cal. Mar. 24, 2015) (“[The L.R. 7-3 conference requirement] also serves the
25   important purpose of providing the opposing party sufficient notice as to the
     contents of a proposed Motion and an opportunity to negotiate on the hearing date.
26   This allows for the preparation of an adequate response given the otherwise short
     briefing schedule for motions provided for by the Local Rules.”). Thus, Defendants
27   file this opposition to the second improperly noticed motion based on the correct
     June 25 hearing date.
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 1 INFINEON TECHNOLOGIES AG, et Complaint Filed: April 26, 2016
   al.,                         Discovery Cutoff: June 29, 2018
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                                Pretrial Conference: March 4, 2019
 3              Defendants.     Trial Date: March 26, 2019
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 6 I. Plaintiffs’ motion for leave should be denied based on Plaintiffs’ undue
       delay and lack of diligence. ............................................................................... 5
 7
       A.      Plaintiffs could have brought their unfair competition claim years
 8             ago when they filed their intentional interference claim against
 9             Infineon AG. ........................................................................................... 6
10            B.       Plaintiffs waited almost a year to add their allegations that
11                     Infineon Americas has shifted GaN-Si activities to other Infineon
                       affiliates. .................................................................................................. 7
12
              C.       Plaintiffs were not diligent in bringing their new claims based on
13
                       the                       . ........................................................................ 9
14
     II.    Plaintiffs’ delay prejudices Defendants because there is not sufficient
15           time to complete discovery on the existing claims, much less the new
16           claims that Plaintiffs seek to add. .................................................................... 12

17            A.       Plaintiffs have resisted discovery on the existing claims in the
                       case. ....................................................................................................... 12
18
19                     1.        Plaintiffs have refused to disclose their damages
                                 contentions on the existing claims, preventing Defendants
20                               from proceeding with fact witness depositions. ......................... 12
21
                       2.        Plaintiffs served deposition notices for twenty-three fact
22                               witnesses and have refused to narrow their requests to ten
                                 witnesses so that Defendants can schedule and prepare
23
                                 their witnesses for deposition. .................................................... 15
24
              B.       The parties will need several additional months to complete
25                     discovery if Plaintiffs are allowed to amend at this late date. .............. 16
26
                       1.        Defendants will file a motion to dismiss, which means that
27                               the parties will not know the scope of the claims in dispute
                                 until mid-August at the earliest. ................................................. 16
28

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 1                     2.       Defendants will need additional time to serve written
                                discovery on Plaintiffs’ new claims before proceeding
 2
                                with depositions. ......................................................................... 19
 3
              C.       Plaintiffs have already amended their complaint three times,
 4                     showing the prejudice of moving the target once again. ...................... 20
 5
     CONCLUSION .......................................................................................................... 20
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 1                                           TABLE OF AUTHORITIES
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 4
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 5    2:13-CV-05704-CAS EX, 2015 WL 2129653 (C.D. Cal. May 6,
 6    2015) (Snyder, J.) ............................................................................................... 4, 5
 7 Spin Master Ltd v. Your Store Online,
      CV 09-2121 CAS JCX, 2010 WL 4883884 (C.D. Cal. Nov. 22,
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10    20 Cal. 4th 163 (1999) .......................................................................................... 17
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17   2015) (Snyder, J.) ................................................................................................... 7
18 United States v. First Nat. Bank of Circle,
19   652 F.2d 882 (9th Cir. 1981) .................................................................................. 5
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 1         Defendants Infineon Technologies AG and Infineon Technologies Americas
 2 Corp. file this memorandum in opposition to Plaintiffs’ Motion for Leave to Amend
 3 Complaint. Dkt. 506. Plaintiffs’ attempt to alter and expand the scope of the case
 4 on the eve of the close of fact discovery wreaks havoc with the case schedule and
 5 severely prejudices Defendants’ ability to prepare their defenses for trial.
 6 Defendants attempted to mitigate the prejudice and eliminate the need to oppose this
 7 motion by proposing a four-month extension to the schedule, but Plaintiffs refused
 8 to agree to that proposal. In conferring on the new schedule in accordance with the
 9 Court’s order continuing the trial date, the parties appear to have reached agreement
10 to push the fact discovery cutoff back to August 31 (a two-month extension) even
11 though it requires compressing later deadlines. Thus, it has become apparent that
12 even Plaintiffs concede that a minimum of a two-month extension of discovery is
13 necessary. As explained in detail below, Defendants continue to believe that a four-
14 month extension (i.e., an additional two months beyond what Plaintiffs are willing
15 to agree upon) is required to cure the prejudice that will result from Plaintiffs’ late-
16 arriving fourth amended complaint.
17         Plaintiffs’ new claims will necessitate new discovery requests (and inevitably
18 new motions to compel). Moreover, the many deficiencies in Plaintiffs’ proposed
19 complaint will necessitate motions on the pleadings, which will prolong the
20 uncertainty about the scope of this case. Until the discovery can be taken (and
21 compelled if necessary) and the uncertainty resolved, the parties cannot reasonably
22 proceed with depositions. Even under the extension the parties are negotiating,
23 there will not be sufficient time to avoid prejudice to Defendants. If the Court is
24 inclined to permit Plaintiffs to amend yet a fourth time at the eleventh hour,
25 Defendants respectfully request a further extension of the schedule.
26         Absent such an extension, Plaintiffs’ proposed amendment should be denied
27 as too prejudicial. And such prejudice is especially unwarranted given Plaintiffs’
28 lack of diligence in pursuing this amendment. Most of the “new” facts were in

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 1 Plaintiffs’ possession for months, and in some cases, years before Plaintiffs sought
 2 leave to amend. There is no legitimate excuse for Plaintiffs’ attempt to ambush
 3 Defendants at the close of discovery with new claims that could have been brought
 4 earlier. Plaintiffs’ motion should be denied.
 5                                  BACKGROUND
 6        Plaintiffs have previously amended their complaint three times. The last of
 7 these amendments came on February 16, 2018—the final day under this Court’s
 8 Scheduling order for amending pleadings. Dkt. 409.
 9        Plaintiffs’ latest amendment, their proposed Fourth Amended Complaint,
10 includes three categories of new claims. First, Plaintiffs seek to bring a new claim
11 for unfair competition. Second, Plaintiffs seek to bring new claims for breach of
12 contract and intentional interference based on allegations that Infineon Americas
13 shifted GaN-Si activities to Infineon AG and other Infineon affiliates.         Third,
14 Plaintiffs seek to bring new claims for breach of contract and intentional
15 interference based on a license agreement with
16               . Defendants address each of these three categories of claims below.
17        Although Plaintiffs’ motion for leave focuses primarily on its new claims
18 regarding the                        , those claims are less significant than the other
19 two claims in the overall context of this lawsuit. In fact, Plaintiffs are simply using
20 the                        as a Trojan horse to try to sneak in the other two claims
21 regarding unfair competition and shifting activities from Infineon Americas to
22 Infineon AG—claims for which Plaintiffs’ lack of diligence is more readily
23 apparent.     Even the Trojan horse is weak, however, because Plaintiffs have also
24 known about those issues for months.
25        This lawsuit is and has always been about Plaintiffs’ improper attempt to
26 interfere with Infineon AG’s legal competitive activities. This lawsuit stems from
27 two agreements executed in 2010 between two small U.S. companies, Nitronex and
28 International Rectifiers (“IR”). At the time these agreements were made, Infineon

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 1 AG had no relationship with either party to the agreements and no involvement in
 2 either party’s business. Infineon AG was not involved in the negotiation of the
 3 agreements. Indeed, Infineon AG saw those agreements only five years later when
 4 it purchased IR (which was later renamed Infineon Americas). Based solely on that
 5 corporate transaction, Plaintiffs brought this lawsuit in an improper attempt to
 6 opportunistically leverage Infineon AG’s subsidiary’s contract to try to hobble one
 7 of their competitors in the marketplace.
 8        Plaintiffs’ first attempt to bind Infineon AG was to bring breach of contract
 9 claims against Infineon AG.       In their Original Complaint and First Amended
10 Complaint, Plaintiffs failed to distinguish between the two defendants, Infineon AG
11 and Infineon Americas. They sought to blur the distinction between these separate
12 entities so that it could bring their contract claims against both defendants. That was
13 improper because Infineon AG is not a party to the agreements as issue. As a result,
14 the Court dismissed all contract claims against Infineon AG. Dkt. 141 at 17–25. On
15 the same basis, the Court also refused to enjoin Infineon AG when Plaintiffs moved
16 for a preliminary injunction. Dkt. 141 at 37 n.14.
17        Plaintiffs’ second attempt to bind Infineon AG is their intentional interference
18 claim. Plaintiffs argue that Infineon AG, as the parent corporation, can be liable for
19 its subsidiary’s breach of the agreements at issue. In effect, Plaintiffs seek to
20 transform their contract claims against a subsidiary corporation into a tort claim
21 against the parent corporation. Plaintiffs’ extraordinary claim would upset the basic
22 principle that corporations can write contracts to bind some entities but not others.
23 Multiple legal privileges protect a parent corporation so that a party cannot
24 transform every contract claim against a subsidiary into a tort claim against the
25 parent corporation. Based on these privileges, Plaintiffs’ intentional interference
26 claim should be dismissed before trial. See Dkts. 187, 245.
27        In any case, Plaintiffs’ intentional interference claim never supported the
28 extraordinary injunction that Plaintiffs seek—which is to bind Infineon AG as if it

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  1 were a party to the IR agreements at issue. The intentional interference claim
  2 supports, at most, an injunction prohibiting Infineon AG from interfering with IR’s
  3 performance (now, Infineon Americas’s performance) under the IR agreements at
  4 issue. But, in reality, Plaintiffs have never been much concerned about Infineon
  5 Americas or its activities. Rather, Plaintiffs have been focused on Infineon AG’s
  6 independent GaN-Si technology development that—as Plaintiffs well know—
  7 existed well before Infineon AG ever purchased IR.            Indeed, before the IR
  8 acquisition, Plaintiffs approached Infineon AG seeking to cooperate with respect to
  9 GaN-Si. But after Plaintiffs learned of Infineon AG’s pending acquisition of IR,
 10 Plaintiffs abruptly switched tactics by ending all efforts to cooperate and, instead,
 11 seeking to stretch the IR agreements to stifle legitimate competition.
 12        With their unfair competition claim and their new allegation about shifting
 13 GaN-Si activities from Infineon Americas to Infineon AG, Plaintiffs seek to obtain
 14 an injunction against Infineon AG’s separate GaN-Si activities as if Infineon AG
 15 were a party to the IR agreements at issue.         Plaintiffs even admit that their
 16 motivation for bringing this unfair competition is to try to obtain such an improper
 17 injunction against Infineon AG. Mot. at 8:6–11.
 18                               LEGAL STANDARD
 19        Because Plaintiffs seek leave to amend their complaint after the February 16,
 20 2018 deadline to amend pleadings (Dkt. 409), Plaintiffs must satisfy the standards
 21 for both Rules 16(b)(4) and 15(a). Bioriginal Food & Sci. Corp. v. Biotab
 22 Nutraceuticals, Inc., 2:13-CV-05704-CAS EX, 2015 WL 2129653, at *2 (C.D. Cal.
 23 May 6, 2015) (Snyder, J.).
 24        Federal Rule of Civil Procedure 16(b)(4) governs modifications to a
 25 scheduling order. Under Rule 16(b)(4), a scheduling order “may be modified only
 26 for good cause and with the judge’s consent.” FED. R. CIV. P. 16(b)(4). The “good
 27 cause” standard focuses primarily on the diligence of the party seeking the
 28 amendment. Gould v. Motel 6, Inc., CV 09-8157 CAS FMOX, 2011 WL 759472, at

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  1 *2 (C.D. Cal. Feb. 22, 2011) (Snyder, J.). The Court should also consider the
  2 existence or degree of prejudice to the opposing party in granting the motion and to
  3 the moving party in denying the motion, as well as “the impact of a modification at
  4 that stage of the litigation on the orderly and efficient conduct of the case.” United
  5 States v. First Nat. Bank of Circle, 652 F.2d 882, 887 (9th Cir. 1981).
  6        Rule 15(a) governs the amendment of pleadings. Under Rule 15(a), a party
  7 can amend its pleadings only by obtaining the opposing party’s consent or the
  8 court’s leave, which should be granted “when justice so requires.” FED. R. CIV. P.
  9 15(a)(2). Courts consider five factors in this analysis: (1) bad faith; (2) undue delay;
 10 (3) prejudice to the opposing party; (4) futility of the amendment; and (5) whether
 11 the plaintiff has previously amended its complaint. Bioriginal, 2015 WL 2129653 at
 12 *3. The most important of these factors is prejudice to the opposing party. Id. The
 13 decision of whether to grant leave to amend is entrusted to the district court’s
 14 discretion, and where, as here, the amending party has already had one or more
 15 opportunities to amend, that discretion is especially broad. Spin Master Ltd v. Your
 16 Store Online, CV 09-2121 CAS JCX, 2010 WL 4883884, at *6 (C.D. Cal. Nov. 22,
 17 2010) (Snyder, J.).
 18                                    ARGUMENT
 19        To open discovery in this case to Plaintiffs’ new set of amended claims would
 20 make the discovery schedule, already rendered unworkable by Plaintiffs’ discovery
 21 tactics, even more unworkable. Plaintiffs cannot demonstrate compliance with the
 22 Local Rules, good cause under Rule 16, or that justice requires the amendment
 23 under Rule 15. Plaintiffs’ motion should be denied.
 24 I.     Plaintiffs’ motion for leave should be denied based on Plaintiffs’ undue
 25        delay and lack of diligence.

 26        Plaintiffs’ proposed amended complaint includes three categories of new

 27 claims. First, Plaintiffs seek to bring a new claim for unfair competition. Second,
 28 Plaintiffs seek to bring new claims for breach of contract and intentional

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  1 interference based on the allegation that Infineon Americas shifted GaN-Si activities
  2 to Infineon AG and other Infineon affiliates. Third, Plaintiffs seek to bring new
  3 claims for breach of contract and intentional interference based on a license
  4 agreement with                                          . Defendants address each of
  5 these new allegations below and show that Plaintiffs were not diligent in bringing
  6 these claims.
  7         A.    Plaintiffs could have brought their unfair competition claim years
                  ago when they filed their intentional interference claim against
  8               Infineon AG.
  9         Plaintiffs have no excuse for their delay in bringing their new cause of action
 10 for unfair competition.       This claim appears to be largely based on Plaintiffs’
 11 allegations of intentional interference against Infineon AG. Fourth Am. Compl. at
 12 ¶ 290. Thus, Plaintiffs could have brought this unfair competition claim years ago
 13 when they filed that intentional interference claim. Plaintiffs provide no explanation
 14 for their failure to do so.
 15         To try to cover up their failure to plead unfair competition when they brought
 16 their intentional interference claim, Plaintiffs point to the sale of Defendants’ GaN-
 17 on-SiC and LDMOS RF Power business to Cree. Mot. at 4:2–19. But Plaintiffs
 18 never explain why that sale was necessary to support a claim for unfair competition.
 19 The Cree sale is not even recited as a factual basis for the unfair competition claim.
 20 Fourth Am. Compl. at ¶ 290 (no mention of Cree).             The Cree sale is just a
 21 smokescreen to hide the fact that Plaintiffs could have brought their unfair
 22 competition claim years ago when they filed their intentional interference claim
 23 against Infineon AG.
 24         Moreover, the Cree sale could not excuse Plaintiffs’ delay because
 25                                                    several months before the deadline
 26 to amend.
 27                                                   . Dkt. 505 at 4 n.2. Plaintiffs point
 28 to the March 6, 2018 press release announcing the Cree sale, but they do not state

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  1 what details they learned through the March 6, 2018 press release that
  2                                                         . Nor do Plaintiffs explain why
  3 details in the press release were necessary to bring their unfair competition claim.
  4 Even if the press release somehow strengthened Plaintiffs’ ability to bring their
  5 unfair competition claim in some unspecified way, the fact remains that
  6                       long before the press release. See Moreno v. Los Angeles Cty.
  7 Sheriff’s Dep’t, 213CV07570CASMANX, 2015 WL 4652637, at *7 (C.D. Cal. Aug.
  8 3, 2015) (Snyder, J.) (discovering new facts about previously identified individuals
  9 that strengthened the proposed amended claims did not amount to good cause
 10 because plaintiff knew of those individuals’ general involvement for much longer).
 11        B.      Plaintiffs waited almost a year to add their allegations that
                   Infineon Americas has shifted GaN-Si activities to other Infineon
 12                affiliates.
 13        Plaintiffs seek to add new claims for breach of contract and intentional
 14 interference based on allegations that Infineon Americas transferred GaN-on-Si
 15 activities to other Infineon affiliates.          Plaintiffs’ proposed Fourth Amended
 16 Complaint includes the following new language in its second, fourth, and eighth
 17 claims for relief2:
 18         Second claim for relief. “Further, Infineon Americas has breached the
 19             2010 License Agreement by transferring its GaN-on-Si RF business
 20             activities for base station products to its affiliates to avoid its promises and
 21             obligations under that agreement.” Fourth Am. Compl. at ¶ 220.
 22         Fourth claim for relief. “Infineon Americas has breached the implied
 23             covenant of good faith and fair dealing by transferring GaN-on-Si RF
 24             power technology and operations to Infineon AG or its entities outside the
 25
      2
 26   A problem with Plaintiffs’ proposed amended complaint and their prior complaint
    is that they combine what are really multiple separate claims under a single “claim
 27 for relief.” Thus, while Plaintiffs have tried to make it look like they have only
    added one cause of action, in fact they have added many more.
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  1              United States and failing to enforce the Nitronex Patents against Infineon
  2              AG or other Infineon entities.” Id. at ¶ 243.
  3            Eighth claim for relief. “Infineon AG has also
  4
  5
  6
  7
  8
  9
 10                                                                                        .”
 11              Id. at ¶ 281
 12 In support of these new claims, Plaintiffs add related factual allegation elsewhere in
 13 their Fourth Amended Complaint. See, e.g., id. at ¶ 9 (second bullet point).
 14           These new claims are based on allegations that Plaintiffs made almost a year
 15 ago during the parties’ briefing on Plaintiffs’ motion for contempt. In their motion
 16 for contempt filed on July 24, 2017, Plaintiffs alleged that Infineon Americas was
 17 using “f
 18
 19            ” Dkt. 349 at 1. Similarly, in their reply brief filed on August 14, 2017,
 20 Plaintiffs argued that Infineon Americas was “
 21              ” Dkt. 343-1; Dkt. 376 at 1 (Heading A).3
 22
 23   3
          Defendants dispute these allegations.




                                             . Dkt. 368 at 20–23; see also id. at Facts, I.B,
 27 II.B, II.C, III.B. Plaintiffs have tried to turn Infineon Americas’ efforts to comply
    with the preliminary injunction into a cause of action.
 28

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  1         Plaintiffs provide no excuse for their decision to wait almost a year to amend
  2 their complaint to add these allegations.           Plaintiffs could have added these
  3 allegations well before the deadline to amend. Plaintiffs were not diligent, and their
  4 motion for leave to add these allegations should be denied.4
  5         C.      Plaintiffs were not diligent in bringing their new claims based on
                    the
  6
            Plaintiffs seek to add new claims for breach of contract and intentional
  7
      interference based on allegations relating to the                        . Plaintiffs’
  8
      proposed Fourth Amended Complaint includes the following new language in its
  9
      fourth, sixth, seventh, and eighth claims for relief:
 10
             Fourth claim for relief: “Infineon Americas has breached the implied
 11
                 covenant of good faith and fair dealing governing the 2010 IP Purchase
 12
                 Agreement by, at the direction and under the control of Infineon AG,
 13
 14
 15
 16
 17
                                                                             .” Fourth Am.
 18
                 Compl. at ¶ 242.
 19
             Sixth claim for relief. “Infineon has breached the 2010 IP Purchase
 20
                 Agreement by
 21
 22
      4
 23     In November, Plaintiffs identified the patents they allege that Infineon Americas
      infringes (“the Asserted Patents”).        Based on the alleged shifting of GaN-Si
 24   activities to Infineon AG, Plaintiffs now allege that Infineon AG also infringes those
      same Asserted Patents and that Infineon Americas has failed to enforce the Asserted
 25   Patents against Infineon AG. Thus, Plaintiffs seek to add the Asserted Patents to
      the list of patents that they allege Infineon Americas failed to enforce against third
 26   parties and thus should be assigned back to Nitronex. Fourth Am. Compl. at ¶ 261.
      For the same reasons discussed above, Plaintiffs could have added these allegations
 27   almost a year ago when they first alleged that Infineon Americas was shifting GaN-
      Si activities to Infineon AG.
 28

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  1
  2                            in violation of Section 4.02 of the 2010 IP Purchase
  3           Agreement.” Id. at ¶ 262.
  4         Seventh claim for relief. “It [Infineon Americas] has
  5
  6                                                        ” Fourth Am. Compl. at ¶
  7           267. Plaintiffs seek a “declaration that Infineon’s purported
  8
  9
 10                                   ” Id. at ¶ 271.
 11         Eighth claim for relief. Infineon AG’s actions and instruction to Infineon
 12           Americas wrongfully induced it to “enter into contractual arrangements
 13           inconsistent with the requirements of the 2010 IP Purchase Agreement.”
 14           Id. at ¶ 280
 15        Plaintiffs complain that Defendants waited too long to produce the
 16              and then produced it by hiding it within a large production of
 17 documents. But Defendants produced the                           in the normal course
 18 of discovery—before the deadline to substantially complete production.
 19        Moreover, contrary to Plaintiffs’ suggestion that Defendants hid the
 20 agreement, Defendants identified it by Bates number in their supplemental response
 21 to Interrogatory No. 7. That interrogatory asked Defendants to identify any sales or
 22 licenses involving the Nitronex Patents.      On March 26, Defendants served a
 23 supplemental response identifying the                             .       The
 24              was not hidden in a long string cite to various Rule 33(d) documents.
 25 The supplemental response identified only one document by Bates number, and the
 26 response identified it as a license agreement with                    .     The entire
 27 supplemental response was:
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  1
  2
  3                        Infineon AG reserves the right to supplement its
                    response and objections as necessary after considering
  4                 additional information obtained or reviewed through
                    further discovery or investigation, or if Plaintiffs
  5                 subsequently assert an interpretation that differs from that
                    of Infineon AG.
  6
      Ex. 1, Infineon AG’s Supplemental Responses to Plaintiffs’ Interrogatories 2 and 7,
  7
      at 13. Thus, Defendants specifically and clearly identified the
  8
      for Plaintiffs.
  9
             In view of this interrogatory response, Plaintiffs fail to explain why it took
 10
      almost two months to file their motion for leave to amend. While good cause for an
 11
      amendment may exist through the discovery of new facts after the cutoff for
 12
      amended pleadings, that is not so where the moving party sits on its hands after
 13
      learning of those facts, as Plaintiffs did here. Instead, this Court has considered the
 14
      moving party’s diligence and actions after learning of the new facts.
 15
             In Zurich Am. Ins. Co. of Ill. v. First Rate Staffing Corp., for example, a
 16
      defendant discovered new facts supporting a new counterclaim and moved to amend
 17
      only one month later, during which time the parties engaged in settlement
 18
      discussions. 217CV04864CASKSX, 2018 WL 1773623, at *3 (C.D. Cal. Apr. 10,
 19
      2018) (Snyder, J.). The defendant in First Rate explained that its month-long delay
 20
      resulted from the settlement discussions, but Plaintiffs here have no explanation for
 21
      their even longer delay. What is more, this Court in First Rate, along with granting
 22
      the amendment, continued the other deadlines in the case by four months, which is
 23
      precisely what Defendants here proposed. Id.
 24
             Plaintiffs cite several cases for the sweeping proposition that a court can
 25
      “grant leave to amend after the deadline for amendment of pleadings—even many
 26
      months after the deadline—where there is good cause and justice so requires.” Dkt.
 27
      505 at 6. But Plaintiffs’ cases are distinguishable. In Dobbs v. Terex Corp., this
 28

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  1 Court granted a motion for leave to file an amended complaint, filed three months
  2 after the deadline to amend pleadings, only because the defendant did not oppose the
  3 motion. EDCV16-2547-CAS(KKX), 2017 WL 6271281, at *2 (C.D. Cal. Dec. 4,
  4 2017) (Snyder, J.). In Gould, this Court permitted an amendment to add a new
  5 named plaintiff to a putative class action (not to bring entirely new legal theories)
  6 while fact discovery was ongoing and before certification motions were filed; the
  7 early stage of Gould and simplicity of the amendment contrast with the late stage of
  8 this case and complexity of Plaintiffs’ amendment.         2011 WL 759472 at *5.
  9 Further, the defendants in Gould outright refused to provide discovery, forcing the
 10 plaintiffs to find the new class representative through an independent investigator,
 11 while here, Defendants specifically and timely identified the                        in
 12 response to Interrogatory No. 7. Id. at *3.
 13        Plaintiffs could have moved to amend sooner. They did not, and they do not
 14 explain this delay. As a result, Plaintiffs lack good cause for their amendment under
 15 Rule 16.
 16 II.    Plaintiffs’ delay prejudices Defendants because there is not sufficient
           time to complete discovery on the existing claims, much less the new
 17        claims that Plaintiffs seek to add.
 18        A.     Plaintiffs have resisted discovery on the existing claims in the case.
 19        Plaintiffs have not been prosecuting this case like a typical plaintiff. Rather
 20 than working to move the case forward expeditiously, Plaintiffs have engaged in
 21 tactics to resist discovery to prevent Defendants from preparing their defense.
 22               1.    Plaintiffs have refused to disclose their damages contentions
                        on the existing claims, preventing Defendants from
 23                     proceeding with fact witness depositions.
 24        Defendants have been unable to proceed with discovery because Plaintiffs
 25 refuse to disclose the factual bases of their damages claim.
 26        Over ten months ago, on August 2, 2017, Defendants served an interrogatory
 27 asking for Plaintiffs’ damages contentions. Plaintiffs initially refused to provide any
 28 substantive response, taking the position that damages was more properly the

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  1 subject of expert discovery. In March, Defendants met and conferred with Plaintiffs
  2 and were prepared to move to compel an answer to this interrogatory. At the last
  3 minute, to prevent Defendants from seeking court intervention, Plaintiffs promised
  4 to provide a supplemental interrogatory within three weeks. Ex. 2, March 5, 2018
  5 Meet and Confer email chain, at March 26, 2018 4:11 PM email from Caballero to
  6 Banzhoff. But then, without any prior notice, Plaintiffs failed to follow through on
  7 that promise.     On the date when Plaintiffs were to serve their supplemental
  8 interrogatory answer (April 13), Plaintiffs instead sent an email stating they had
  9 decided to take an additional three weeks to supplement that interrogatory answer.
 10 Id. at April 13, 2018 12:28 PM email from Banzhoff to Caballero.
 11         When Plaintiffs eventually supplemented their interrogatory answer in May,
 12 Plaintiffs failed to include the very information they had agreed to provide when the
 13 parties had met and conferred in March. For most of Plaintiffs’ causes of action,
 14 Plaintiffs did not describe their damages claim at all. The only cause of action
 15 referred to in Plaintiffs’ response was their second claim for relief (i.e., Plaintiffs’
 16 claim that Infineon Americas has marketed GaN-on-Si RF product in violation of
 17 Nitronex’s alleged exclusive patent rights). But even with respect to that claim,
 18 Plaintiffs did not fully disclose their damages contentions and continued to withhold
 19 key facts needed to guide Defendants’ discovery. For example, Plaintiffs purport to
 20 seek lost profits from lost sales, but Plaintiffs withhold the names of the customers
 21 and customer projects that resulted in lost sales. As another example, Plaintiffs
 22 allege that Defendants’ “delayed execution of agreements between MACOM and
 23 manufacturing partners,” but Plaintiffs withhold the names of the manufacturing
 24 partners at issue. Furthermore, Plaintiffs failed to disclose the facts relating to
 25 causation—the facts showing that Defendants’ alleged wrongful conduct caused any
 26 of the alleged harm.
 27         Defendants again met and conferred with Plaintiffs about their deficient
 28 interrogatory, but Plaintiffs refused to provide any further supplementation. As a

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  1 result, Defendants prepared a joint stipulation to seek court intervention. After
  2 Defendants served their joint stipulation, Plaintiffs offered to provide some, but not
  3 all, of the missing information, so as to try to convince Defendants to withdraw the
  4 joint stipulation. Ex. 3, First Joint Stipulation email chain, at May 26, 2018 2:41 PM
  5 email from Banzhoff to Baxter. At that time, with only about one month left of
  6 discovery, Defendants refused to withdraw the joint stipulation until Plaintiffs
  7 served the supplement interrogatory response. Id. at May 26, 2018 4:09 PM and
  8 May 28 4:21 PM emails from Baxter to Banzhoff. Since then, Defendants have
  9 asked repeatedly when Plaintiffs will serve the supplemental response, finally
 10 disclosing the factual bases of Plaintiffs’ damages contentions. Ex. 4, Interrogatory
 11 No. 10 email chain, at June 1, 2018 8:23 AM and June 4, 2018 10:20 AM emails
 12 from Baxter to Banzhoff. But Plaintiffs have refused to respond with a date. And
 13 given that Plaintiffs have a history of repeatedly not living up to the agreements they
 14 make to forestall court intervention, Defendants cannot rely upon yet another empty
 15 promise.
 16        Thus, over two years after Plaintiffs filed suit, Defendants still lack the most
 17 basic understanding of Plaintiffs’ damages claim.        As a result, Defendants are
 18 unable to determine what fact witnesses Defendants need to depose, what topics to
 19 include in their 30(b)(6) deposition notices of Plaintiffs, or what additional third-
 20 party discovery may be needed (such as depositions of Plaintiffs’ customers or
 21 manufacturing partners).       Thus, Plaintiffs have prevented Defendants from
 22 proceeding with fact discovery.
 23        Plaintiffs have also failed to produce documents for numerous categories of
 24 relevant documents. At the end of June, there will be a hearing on motions to
 25 compel for both parties involving dozens of requests for production. Once these
 26 motions are decided, it will no doubt take some time for Plaintiffs to produce
 27 whatever documents they are compelled to produce. Only after that happens and
 28 after the Court rules on any briefing associated with any new claims can depositions

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  1 occur. Defendants assume that Plaintiffs are not going to agree to produce their
  2 witnesses twice.
  3                2.    Plaintiffs served deposition notices for twenty-three fact
                         witnesses and have refused to narrow their requests to ten
  4                      witnesses so that Defendants can schedule and prepare their
                         witnesses for deposition.
  5
            Plaintiffs have refused to narrow their deposition requests to a reasonable
  6
      number of witnesses so that the parties can proceed with those depositions. At the
  7
      August 7, 2017 scheduling conference, the Court decided to stick with the
  8
      limitations in the Federal Rules. Ex. 5, Aug. 7, 2017 Tr. at 18:9–14. So, the parties
  9
      are limited to 10 depositions per side. FED. R. CIV. P. 30.
 10
            Nevertheless, Plaintiffs have served deposition notices for twenty-three fact
 11
      witnesses.5 In response, Defendants requested that Plaintiffs narrow their requests
 12
      to ten fact witnesses so that the parties can proceed with discovery. Ex. 6, First
 13
      Depositions email chain, at May 24, 2018 2:29 PM email from Baxter to Banzhoff.
 14
      Plaintiffs have refused, insisting that they need more depositions.      Defendants
 15
      requested that Plaintiffs identify the number of depositions that they wish to take.
 16
      Id. at May 24, 2018 2:29 PM, May 25, 2018 8:16 AM, and May 30, 2018 1:48 PM
 17
      emails from Baxter to Tessar. But Plaintiffs have insisted on the same 100-hour
 18
      limit that the Court rejected at the scheduling conference. Id. at May 24, 2018 4:12
 19
      PM email from Tessar to Baxter; Ex. 7, Second Depositions email chain, at May 29,
 20
      2018 6:46 PM email from Banzhoff to Baxter. At the August 7, 2017 scheduling
 21
      conference, Plaintiffs argued for an hours limit rather than a numerical limit of the
 22
      number of depositions. Ex. 5, Hearing Tr., at 17:7–11. The Court strongly rejected
 23
 24   5
      These fact witnesses include (1) Infineon Americas; (2) Infineon AG; (3) Edmund
 25 Neo;  (4) Gerhard Wolf; (5) Guillaume Bigny; (6) Hakan Davidsson; (7) Hugo
    Herman; (8) John Murphy; (9) Manu Jain; (10) Simon Ward; (11) Hans Ohman;
 26 (12) Harri Jyvaesjaervi; (13) Helmut Brech; (14) James Jeong; (15) James Kim;
    (16) Lew-is Liu; (17) Lisa Wang; (18) Norman Chen; (19) Petteri Rantanen;
 27 (20) Philipp Schierstaedt; (21) Steffen Metzger; (22) Peter Kim; and
    (23) Chankyung Choi.
 28

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  1 that approach: “I don’t think we do it that way in this district and I’ve certainly
  2 never done it. What I really want is for you to take a finite number of depositions.”
  3 Id. at 18:1–3 (emphasis added). But Plaintiffs have refused to propose a deposition
  4 limit in terms of the number of depositions. Thus, Defendants have been unable to
  5 schedule their witnesses for deposition or to prepare them for deposition. The
  6 parties still must meet and confer about deposition limits.
  7         B.     The parties will need several additional months to complete
                   discovery if Plaintiffs are allowed to amend at this late date.
  8
                   1.    Defendants will file a motion to dismiss, which means that
  9                      the parties will not know the scope of the claims in dispute
                         until mid-August at the earliest.
 10
            Plaintiffs’ motion correctly anticipates that its amendment, if allowed, will
 11
      necessitate additional motions on the pleadings. Many of the claims Plaintiffs seek
 12
      to add by this amendment are legally flawed and will necessitate additional motions
 13
      on the pleadings. The uncertainty about the scope of the case created by Plaintiffs’
 14
      decision to amend with a defective pleading at the tail end of fact discovery will be
 15
      extremely prejudicial unless the schedule is adjusted to allow for several additional
 16
      months of fact discovery.
 17
            Plaintiffs’ proposed unfair competition claim under California Business &
 18
      Professions Code § 17200 (the “UCL”) is riddled with defects. The test for a
 19
      violation of the UCL is disjunctive—“a plaintiff may show that the acts or practices
 20
      at issue are either unlawful or unfair or deceptive.” Walker v. Countrywide Home
 21
      Loans, Inc., 98 Cal. App. 4th 1158, 1169 (2002). Plaintiffs’ proposed complaint
 22
      purports to assert all three bases but fails to allege supporting factual allegations to
 23
      do so. First, Plaintiffs identify no actions whatsoever that constitute deceptive or
 24
      fraudulent actions by Infineon AG. Second, Plaintiffs purport to identify numerous
 25
      actions as unfair practices, but none of them are legally cognizable.          Because
 26
      Infineon AG and MACOM are indisputably competitors, Plaintiffs cannot state a
 27
      claim under the UCL’s “unfair” prong in the absence of facts showing that Infineon
 28

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  1 AG’s conduct “threatens an incipient violation of an antitrust law, or violates the
  2 policy or spirit of one of those laws.” See Cal-Tech Commc’ns, Inc. v. L.A. Cellular
  3 Tel. Co., 20 Cal. 4th 163, 187 (1999). Plaintiffs have not even attempted to (and
  4 cannot) plead such facts. It is Plaintiffs’ actions and motives in this litigation that
  5 are anticompetitive, not Defendants’ actions.       Third, on the “unlawful” prong,
  6 Plaintiffs’ vague assertion that Infineon AG’s conduct “contravenes the legislatively
  7 declared policy against unfair methods of business competition” is mere boilerplate
  8 and “does not describe the manner in which [Defendant’s] practice is ‘unlawful.’”
  9 See Khoury v. Maly’s of Cal., Inc., 14 Cal. App. 4th 612, 619 (1993). And finally,
 10 Plaintiffs improperly seek a remedy of restitution, but their proposed pleading fails
 11 to identify any property that was both lost by Plaintiffs and acquired by Infineon
 12 AG, as the UCL requires.
 13        Plaintiffs’ proposed new claims relating to the                        are also
 14 defective. For example, Plaintiffs claim that Infineon America breached the implied
 15 covenant of good faith and fair dealing because the
 16 “                                                                                    .”
 17 Fourth Am. Compl. at ¶ 242. This claim is legally unsupportable because it would
 18 impermissibly contravene the express terms of the IP Purchase Agreement. Section
 19 3.01 on Revenue-Sharing states, “
 20                                                                              .” Ex. 8,
 21 IP Purchase Agreement, at § 3.01 (emphasis added).              Moreover, Plaintiffs’
 22 allegation that Infineon Americas intentionally sought to license some of the patents
 23 for less than             would have been willing to pay solely to avoid
 24                            defies common sense and lacks facial plausibility.        If
 25 Infineon Americas could have convinced                     to pay additional money,
 26 Infineon Americas would plainly have done so because Infineon Americas itself
 27 would have ended up with more licensing revenue.
 28        Moreover, Plaintiffs cannot bring suit about any dispute about the portion of

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  1 cash consideration that is subject to revenue sharing, because
  2
  3
  4
  5
  6
  7
  8
  9                 . Id. at § 12.01(b). Plaintiffs have not even attempted to follow these
 10 procedures.
 11        Plaintiffs’ motion for leave to file yet a fourth amended complaint on the eve
 12 of the close of fact discovery creates substantial uncertainty about the scope of the
 13 case and makes it impossible for the parties to complete depositions. The many
 14 defects in Plaintiffs’ proposed amended complaint, some of which are highlighted
 15 above, only serve to compound the uncertainty. The motion practice necessitated by
 16 the proposed amendment will likely be resolved only shortly before the close of fact
 17 discovery, even based on a two-month extension of that deadline the parties have
 18 agreed upon based on the new trial date provided by the Court. Thus, the proper
 19 scope of the case will become clear only as fact discovery is drawing to a close. But
 20 discovery will be stalled in the meantime. Defendants cannot properly prepare and
 21 present their witnesses for deposition without knowing what claims are in the case.
 22 Similarly, Defendants need to know how to allocate their limited time with
 23 Plaintiffs’ witnesses. Knowing the scope of the case to be tried is critical for
 24 selecting the right areas for exploration. The small window of time that would
 25 remain after pleading motions are resolved would be insufficient for both sides to
 26 complete depositions.      Thus, absent an additional extension of the schedule,
 27 Plaintiffs’ proposed amended pleading would unfairly prejudice Defendants’ ability
 28 to properly conduct discovery and prepare their case for trial.

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  1               2.     Defendants will need additional time to serve written
                         discovery on Plaintiffs’ new claims before proceeding with
  2                      depositions.
  3         Even setting aside the need for motions on the pleadings to challenge the new
  4 complaint, the timing of the new complaint puts the case schedule in jeopardy, even
  5 as adjusted. Recognizing the prejudice in such late-arriving amendments, this Court
  6 has rejected attempts to amend made even more than two months before the fact
  7 discovery cutoff, even where good cause was shown. See Spin Master, 2010 WL
  8 4883884 at *6 (denying motion to amend filed October 20 because granting the
  9 amendment would necessitate extension of December 31 discovery cutoff,
 10 prejudicing the defendant). Plaintiffs’ motion, which they filed prematurely under
 11 the Local Rules, came on May 21, 2018, barely one month ahead of the then-extant
 12 fact discovery cutoff of June 29, 2018. Even under the timeline the parties are
 13 negotiating based on the Court’s new trial date, the contemplated August 31 cutoff
 14 is less than three months away and does not provide sufficient time for full and fair
 15 discovery into Plaintiffs’ new claims.
 16         Defendants will need time to propound additional written discovery requests
 17 based on Plaintiffs’ new causes of action, as Plaintiffs’ motion acknowledges.
 18 Among other things, Defendants will need to serve document requests and
 19 contention interrogatories to understand the factual and legal bases for Plaintiffs’
 20 new claims.        Moreover, it is likely that full responses will not be readily
 21 forthcoming. Thus, there will need to be time for discovery motions as well, as
 22 demonstrated by Defendants’ outstanding motions to compel on thirty discovery
 23 requests and the history of Defendants’ attempts to discover Plaintiffs’ damages
 24 contentions, recounted briefly above. Indeed, given Defendants’ experiences with
 25 trying to extract such information from Plaintiffs in the past, receiving proper
 26 answers to such discovery will likely necessitate rounds of meet-and-confers,
 27 followed by waiting for supplements that, when they finally arrive, will turn out to
 28 be insufficient, and finally motion practice to seek court intervention. It is therefore

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  1 likely that such answers and documents will be received close to or after the current
  2 fact discovery cutoff, even as extended.
  3         Defendants should not be forced to proceed with depositions based on mere
  4 speculation as to how Plaintiffs intend to prove their claim. Plaintiffs’ decision to
  5 seek an eleventh-hour pleading amendment should not give them the right to trial by
  6 ambush. Granting the motion to amend would be unfairly prejudicial unless it is
  7 accompanied by a further extension of the schedule to permit the parties to get the
  8 documents and answers they seek on the new claims before beginning depositions.
  9         C.    Plaintiffs have already amended their complaint three times,
                  showing the prejudice of moving the target once again.
 10
            On the final factor, Plaintiffs admit that they have amended their complaint
 11
      three times previously. In this situation, the court’s discretion to deny yet another
 12
      request for leave to amend is “especially broad.” Spin Master, 2010 WL 4883884 at
 13
      *6.   And regardless of the explanation offered for these amendments, this
 14
      amendment represents Plaintiffs’ fourth bite at the apple, again underscoring the
 15
      prejudice to Defendants in granting the amendment. Plaintiffs’ allegations have
 16
      been a moving target, so much so that, even on the eve of the discovery deadline,
 17
      Defendants lack certainty regarding the issues involved in this case. The very filing
 18
      of this fourth request for leave to amend has moved the target once again, leaving
 19
      Defendants wondering about what is involved in this case until the resolution of this
 20
      motion and subsequent motions to dismiss. Plaintiffs’ numerous amendments weigh
 21
      against granting leave to amend, regardless of the explanations for them.
 22
                                      CONCLUSION
 23
 24         Granting Plaintiffs leave to amend would prejudice Defendants, the course of

 25 this litigation, and the parties’ ability to meet other deadlines, which already cannot
 26 realistically be met. Plaintiffs’ delay in bringing this motion only exacerbates those
 27 problems. Plaintiffs’ motion should be denied, or, if it is granted, the remaining
 28 deadlines in the case should be extended accordingly.

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  1 Dated: June 4, 2018                BAKER BOTTS LLP
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